                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )   No. 1:09-cr-95-TRM-SKL-09
                                                )
 TROY SMITH                                     )

                               MEMORANDUM AND ORDER

       TROY SMITH (“Defendant”) appeared for a hearing on April 19, 2016, in accordance
 with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for a Warrant or
 Summons for an Offender Under Supervision (“Petition”).

        Defendant was placed under oath and informed of his constitutional rights. It was
 determined that Defendant wished to be represented by an attorney and he qualified for
 appointed counsel. Federal Defender Services of Eastern Tennessee was appointed to represent
 Defendant. It was also determined that Defendant had been provided with and reviewed with
 counsel a copy of the Petition.

        The Government moved that Defendant be detained without bail pending his revocation
 hearing before U.S. District Judge McDonough. Defendant waived his right to a preliminary
 hearing and a detention hearing.

         Based upon the Petition and waiver of preliminary hearing, the Court finds there is
 probable cause to believe Defendant has committed violations of his condition of supervised
 release as alleged in the Petition.

        Accordingly, it is ORDERED that:

        (1) Defendant shall appear for a revocation hearing before U.S. District Judge
        McDonough.

        (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL
        pending his revocation hearing before Judge McDonough is GRANTED.

        (3) The U.S. Marshal shall transport Defendant to a revocation hearing set before District
        Judge McDonough on Friday, May 6, 2016 at 2:00 p.m.

        SO ORDERED.

        ENTER.
                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE



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